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     ORIGINAL                                                                         ORIGINAL
1    Robert J. Beles Bar No. 41993
     1 Kaiser Plaza, Suite 2300
2    Oakland, California 94612-3616
     Tel. No. (510) 836-0100
3    Fax No. (510) 832-3690
     Attorney for Defendant RACHHPAL SINGH
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8                                    United States District Court
                                      Eastern District of California
9

10     PEOPLE OF THE STATE OF CALIFORNIA ,         No. CR S-03-0202 GEB

11                   Plaintiff,                    ORDER EXONERATING BAIL
              vs.
12
       RACHHPAL SINGH,
13
                     Defendant.
14

15

16                                  ORDER EXONERATING BAIL

17          Defendant, Rachhpal Singh, having voluntarily surrendered to the custody of Federal

18   authorities at United States Prison - Atwater on February 25, 2005, as shown by the executed

19   judgment filed on March 28, 2005, and good cause therefore appearing, this court orders that

20   defendant’s bail shall be exonerated and directs the clerk to return the posted cash, Receipt #

21   9353, to Angrej Singh.

22   Dated: May 5, 2005

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                                                /s/ Garland E. Burrell, Jr.
24                                              GARLAND E. BURRELL, JR.
                                                United States District Judge
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         Motion for Order Exonerating Bail; Declaration of Robert J. Beles; Order Exonerating Bail
